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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :     Case No. 1:21-CR-00204-BAH
                                              :
MATTHEW BLEDSOE,                              :
                                              :
                      Defendant.              :

       GOVERNMENT’S UNOPPOSED MOTION TO CONTINUE SENTENCING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully moves this Honorable Court to continue the sentencing

date in this matter. The government is requesting a one-month extension of time to consider its

sentencing position in this case and to complete briefing supporting that position. The defense

does not oppose this motion. Both parties can be available from February 11-27, 2025, if one of

those dates works for the court’s schedule.

                                     Respectfully submitted,

                                     UNITED STATES ATTORNEY



DATED: January 3, 2025             By: ___________________________________
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